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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:                                                    Case No. 6:24-bk-02642-GER
Karlyle C Jones ,                                         Chapter 13
       Debtor(s).
                                             /

                     NATIONSTAR MORTGAGE, LLC’S
        OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN

        COMES NOW, secured creditor, NATIONSTAR MORTGAGE, LLC (“Secured

Creditor”) by and through its undersigned counsel, and moves this Honorable Court for an Order

denying confirmation of Debtor Karlyle C Jones’ (“Debtor”) Chapter 13 Plan (“Plan”) filed on

June 11, 2024 (ECF No. 15), and in support thereof, states:

       1.      Debtor filed petition under Chapter 13 of Title 11, United States Bankruptcy Code

on May 28, 2024 and this Court has jurisdiction pursuant to 28 U.S.C. §1334.

       2.      Secured Creditor is the holder of a first priority note and recorded mortgage for

Debtor’s real property located at 15038 Guava Bay Drive, Winter Garden, Florida 34787

(hereinafter the “Property”).

       3.      Debtor’s Plan treats Secured Creditor by curing $781.58 in pre-petition arrears to

the Trustee and maintaining the regular post-petition payment of $2,200.00 to the Trustee.

       4.      Secured Creditor objects to the Plan because the actual amount of pre-petition

arrears is approximately $18,149.33.

       5.      Secured Creditor will timely file its proof of claim by the bar date.

       6.      Debtor’s Plan, as proposed, improperly impairs Secured Creditor’s interest by

failing to treat the actual amount of pre-petition arrears.
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       WHEREFORE, Secured Creditor prays this Court deny confirmation of the Plan, and for

such other and further relief as this Court may deem just and proper.


Date: June 20, 2024                                  Respectfully Submitted,

                                                      /s/ Justin Plean
                                                     Justin D. Plean, Esq.
                                                     Attorney for Secured Creditor
                                                     Quintairos, Prieto, Wood & Boyer, P.A.
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Karlyle C Jones,                                       Chapter 13
Debtor(s).
                                          /

                                CERTIFICATE OF SERVICE

       I certify that I have caused to be served a copy of the foregoing Objection to Confirmation
of Debtor’s Chapter 13 Plan, by first class mail, postage prepaid or by CM/ECF electronic filing
upon the parties listed below on this day.

Dated: June 20, 2024                                               /s / Justin Plean
                                                                   Justin D. Plean, Esq.
                                                                   Fl. Bar No. 113887

Copies Furnished To:

By CM/ECF Receipt

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